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 5                            UNITED STATES DISTRICT COURT
 6                         SOUTHERN DISTRICT OF CALIFORNIA
                                (Honorable Dana M. Sabraw)
 7
      UNITED STATES OF AMERICA,             )        Case No. 20-CR-3246-DMS
 8                                          )
                         Plaintiff,         )        ORDER CONTINUING
 9    v.                                    )        MOTION IN LIMINE AND TRIAL
                                            )        DATES
10    DEREK GLEESON,                        )
                                            )
11                       Defendant.         )
                                            )
12
13          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the joint motion
14    of the parties to continue the motion in limine hearing scheduled for August 5, 2022
15    and the trial scheduled for August 15, 2022 to November 10 at 11 am and Monday,
16    November 14 at 9 am. respectively, is GRANTED.
17          The Defendant is ordered to appear on those dates and times and shall file an
18    Acknowledgment within one week of the entry of this Order.
19          Time under the Speedy Trial Act shall continue to be excluded.
20          IT IS SO ORDERED.
21
22    Dated:      07/20/22
                                                     HON. DANA M. SABRAW
23                                                   CHIEF U.S. DISTRICT JUDGE
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